Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 1 of 62 PageID #:
                                 101652




                  EXHIBIT D
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 2 of 62 PageID #:
                                 101653                                  1


    1                    IN THE UNITED STATES DISTRICT COURT

    2                    IN AND FOR THE DISTRICT OF DELAWARE

    3                                       - - -

    4
            PAR PHARMACEUTICAL, INC.,          :    CIVIL ACTION
    5       PAR STERILE PRODUCTS, LLC,         :
            and ENDO PAR INNOVATION            :
    6       COMPANY, LLC,                      :
                                               :
    7                         Plaintiffs,      :
                                               :
    8            vs.                           :
                                               :
    9                                          :
            EAGLE PHARMACEUTICALS,             :
   10       INC.,                              :
                                               :
   11                         Defendant.       :    NO. 18-823-CFC

   12

   13                                       - - -

   14                                       Wilmington, Delaware
                                            Monday, July 1, 2019
   15                                       9:19 o'clock, a.m.

   16                                       - - -

   17     BEFORE:    HONORABLE COLM F. CONNOLLY, U.S.D.C.J.

   18                                       - - -

   19     APPEARANCES:

   20
                         FARNAN LLP
   21                    BY: MICHAEL J. FARNAN, ESQ.

   22
                                    -and-
   23

   24

   25                                                 Valerie J. Gunning
                                                      Official Court Reporter
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 3 of 62 PageID #:
                                 101654                                  2


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Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 4 of 62 PageID #:
                                 101655                                  3


    1                         P R O C E E D I N G S

    2

    3                   (Proceedings commenced in the courtroom,

    4     beginning at 9:19 a.m.)

    5

    6                   THE COURT:    Good morning.     Please be seated.

    7     Mr. Farnan?

    8                   MR. FARNAN:    Good morning, Your Honor.

    9                   THE COURT:    Good morning.

   10                   MR. FARNAN:    Michael Farnan on behalf of the

   11     plaintiff.    With me today is Martin Back, Robert Rhoad and

   12     Brian Goldberg from Dechert.

   13                   Your Honor, I had one scheduling issue, if I

   14     could raise it?

   15                   THE COURT:    Sure.

   16                   MR. FARNAN:    We have a few hearings this

   17     morning.    My firm has a few hearings.       One of them is a

   18     10:30 Markman with Chief Judge Stark.         If we run close to

   19     10:30, would it be okay if I were excused?

   20                   THE COURT:    Absolutely.

   21                   MR. FARNAN:    Thank you very much.

   22                   THE COURT:    Ms. Palapura.

   23                   MS. PALAPURA:     Good morning, Your Honor.      Bindu

   24     Palapura from Potter on behalf of defendant, Eagle

   25     Pharmaceuticals.     With me today from Kirkland & Ellis is
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 5 of 62 PageID #:
                                 101656                                  4


    1     Jeanna Wacker, Ben Lasky, Christopher Citro, and also with

    2     us from Eagle is Pearl Hsu.

    3                    THE COURT:   Great.    Thank you.

    4                    So thank you for the briefing and the clarity of

    5     it.   Well, what I'm trying to say, I should say the

    6     appendices with the highlighted provisions.          It just makes

    7     it so much easier to prepare for a hearing.          I wish all

    8     lawyers did it.     It's a good thing.     That goes to both

    9     sides.   So thank you.

   10                    All right.   Can we begin?

   11                    MR. BLACK:   Yes, Your Honor.     Martin Black for

   12     the plaintiffs.     We've got some slides.      If I may hand them

   13     up?

   14                    THE COURT:   Please.

   15                    (Mr. Black handed slides to the Court.)

   16                    MR. BLACK:   Okay.    Your Honor, we have three

   17     terms today.     Degradation product.     Let's see.    Acetate

   18     buffer, which Mr. Rhoad will handle, and administering.            All

   19     three share a common issue, which is that the plain and

   20     ordinary meaning, which is what plaintiff asserts should be

   21     the construction, is largely agreed by the parties, and

   22     there are limitations which the defendant would like to

   23     put on the interpretation of the claims, which we believe

   24     are inappropriate.      Obviously, the law is that for a

   25     disclaimer, you need a clear and unmistakable disclaimer of
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 6 of 62 PageID #:
                                 101657                                  5


    1     claim scope.

    2                    I will just go through very briefly the

    3     background of the technology for Your Honor.

    4                    Vasostrict is a drug which is usually provided

    5     in a vial.    It is a vasoconstrictor.       The active ingredient

    6     is vasopressin.     It raises blood pressure, which is

    7     important in certain circumstances when a patient is in

    8     cardiac arrest, for instance or, much more commonly, any

    9     other reason why the patient's heart is not functioning

   10     properly and the physician needs to raise the blood

   11     pressure.

   12                    The vasopressin molecule is a peptide.        This is

   13     a, what it looks like.      Each of the NH's is the base of an

   14     amino acid.    There is a chain of amino acids.        And one thing

   15     that's important is that the two S's sort of in the middle

   16     on the top right there are sulfur molecules.          Those are two

   17     cysteine amino acids that have backed up against each other

   18     and form what's known as a sulfur bridge there between those

   19     two things.

   20                    Now, the peptides are unstable to which is a

   21     difficulty that the inventors were aware of and tried to

   22     improve to the invention at issue in the case.          And what

   23     happens is different pieces of the molecule can come up, can

   24     be recombined, get turned around, and those relate to the

   25     degradation product term.       That's the first term of the
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 7 of 62 PageID #:
                                 101658                                  6


    1     case.

    2                   What happens is, for instance, the H2N at the

    3     top left, that can cleave off while in solution, creating a

    4     degradation product.      Other things can cleave off.       Things

    5     can break and then recombine, and there are any number of

    6     degradation products.      Of course, the longer that the

    7     product is in the solution, the more likely that a

    8     degradation product will form, and the degradation products

    9     can evolve into other degradation products and so on and so

   10     forth.   I believe that is all undisputed.        It's basic

   11     peptide biochemistry.

   12                   As I mentioned, this is used in emergency

   13     situations.    It's also used in any other situation where

   14     there's a need to increase blood pressure, but other means

   15     of doing so have failed, including the use of fluids or

   16     catechol means.

   17                   The problem to be solved by the inventors was

   18     that the vasopressin degrades in solution, and that, of

   19     course, gets worse over time and you get different

   20     degradation products.      It makes formulating the vasopressin

   21     products difficult in light of the stability requirements.

   22     This is going to sit in a hospital.        It may be pulled out in

   23     an emergent basis, and it's ideal for it to have a shelf

   24     life of two or three years, but it's in solution.           It's an

   25     unstable compound, and the trick is to figure out how to
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 8 of 62 PageID #:
                                 101659                                  7


    1     make it stable, give it good shelf life.         That's what the

    2     patentees were working on.

    3                   Did a lot of work and there are a number of

    4     patents at issue here.      The first one is the '239.       That was

    5     at the very beginning and has a limited specification.

    6     That's where the degradation product term comes from.            Then

    7     there were a group of other patents that are

    8     continuation-in-parts that have much more material in them.

    9     For purposes of this hearing, that's not particularly

   10     important, but there is a different disclosure in the '239

   11     than in the later patents.

   12                   All right.    So the first patent I wanted to

   13     refer to is on the right, the '239.        It has a method of

   14     increasing blood pressure in a human.         This is a

   15     representative method claim.       It has a providing step which

   16     is done by someone in the hospital, provides the vial to the

   17     caregiver.    The contents of the solution are then diluted in

   18     the second step and then administered to the patient.            And

   19     in this claim on the right, the dosage form has a pH of 3.5

   20     to 4.1, and the administration provides a particular number

   21     of units of vasopressin to the patient.

   22                   On the left is the composition claim, which

   23     also --

   24                   THE COURT:    Hold on a second, please.

   25                   MR. BLACK:    Yes.
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 9 of 62 PageID #:
                                 101660                                  8


    1                   THE COURT:    I was just focusing on something I

    2     hadn't thought about when I was reading it.          This is a

    3     completely different topic, but answer it and then you can

    4     move back to your presentation.

    5                   Under 1(c), when it says a unit dosage form has

    6     a Ph.D. of 3.5 to 4.1 --

    7                   MR. BLACK:    Yes, Your Honor.

    8                   THE COURT:    -- is that before or after it's

    9     diluted?

   10                   MR. BLACK:    That's before dilution, Your Honor.

   11                   THE COURT:    Okay.    Go ahead.

   12                   MR. BLACK:    Unit dosage form is referred to

   13     earlier.    It's in "A," providing a pharmaceutical

   14     composition for intravenous administration consisting of, in

   15     a unit dosage form.      Then the "I" has the steps, but it goes

   16     down and defines the unit dosage form.

   17                   THE COURT:    I'm not sure I agree with you, but

   18     go ahead.

   19                   MR. BLACK:    The other part of the claim, Your

   20     Honor, is a pharmaceutical composition, the other type of

   21     claim.   It is a comprising claim and has from .01 mg's per

   22     pill to about .07 mg's per ml, the active ingredient, a

   23     pharmaceutical acceptable salt, wherein the dosage form has

   24     further impurities.      They are stated in a present amount,

   25     and then 85 percent to 100 percent sequence homology to SEQ
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 10 of 62 PageID #:
                                  101661                                  9


     1     ID.    The SEQ ID is a definition used by biochemists.          It is

     2     the amino acid string defined by a series of letters, each

     3     letter denoting an amino acid.       And in that claim, the pH of

     4     the unit dosage form is 3.7 to 3.9.

     5                   And what the patent discusses with the pH is how

     6     the pH can be used to make the formulation stable.          That's

     7     the essence of the patent.      And when you look at claim 1 of

     8     the '239, we have the same thing.        We have the unit dosage

     9     form defined in "A" and then the pH is 3.5 to 4.1.

    10                   So there are three claim terms to be construed.

    11     The first is vasopressin degradation products.          Par's

    12     construction is ordinary meaning, no construction is

    13     required.    Vasopressin is obviously understood by the

    14     parties.    It's agreed to be the SEQ ID No. 1.        That's simply

    15     the string of amino acids.

    16                   Degradation products.

    17                   THE COURT:    All right.    So I will agree with

    18     you.   Let me hear from the defendant.

    19                   MS. WACKER:    Good morning, Your Honor.       Jeanna

    20     Wacker on behalf of Eagle.      I am going to address this term

    21     about the degradation product and then Mr. Lasky is going to

    22     address administering.

    23                   THE COURT:    Okay.   All right.

    24                   MS. WACKER:    Let's get to our presentation.

    25                   THE COURT:    You agree you've got to be clear and
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 11 of 62 PageID #:
                                  101662                                  10


     1     unequivocal for this claim.        Correct?

     2                   MS. WACKER:    I do.

     3                   THE COURT:    All right.

     4                   MS. WACKER:    I do.    That's for disclaimer.     It's

     5     different for lexicography.

     6                   THE COURT:    Then you're going to show me where

     7     it's defined then?

     8                   MS. WACKER:    Yes.    Can we go to slide 14.     All

     9     right.

    10                   So as Mr. Black demonstrated, the claim 1, as he

    11     said, this is the inventive aspect of the claim, the amounts

    12     of degradants or impurities disclosed as 0 to 2 percent

    13     vasopressin degradation products.        In order for a person of

    14     ordinary skill in the art to understand whether they

    15     infringed this claim, they need to know whether what

    16     actually qualifies as a vasopressin degradation product.

    17                   So if you look --

    18                   THE COURT:    Incidentally, do I have to rely on

    19     extrinsic evidence?

    20                   MS. WACKER:    No.

    21                   THE COURT:    Okay.    Go ahead.

    22                   MS. WACKER:    So if you look to the

    23     specification, it defines vasopressin and associated

    24     degradation products or peptides are listed in Table 1

    25     below.   So it specifically says they're listed in Table 1,
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 12 of 62 PageID #:
                                  101663                                  11


     1     and Table 1 of the patent specification provides 17

     2     compounds and SEQ ID numbers, and the first one is

     3     vasopressin and then 2 through 17 are the additional

     4     degradation products that the patent discloses.

     5                   THE COURT:    Right.    But before it gets to this

     6     language in column 3, in column 2 it says, and these are all

     7     part -- I mean, you've got to read the beginning to know

     8     when you come upon the table.        And it says, the glycine,

     9     glutamine, glutamine and asparagine residues can undergo

    10     deamidation to yield the parent carboxylic acid and several

    11     degradation products as detailed in Example 1.

    12                   So it is clearly several degradations.         It's not

    13     limiting it, and it's saying they're going to be referred to

    14     when I get to Table 1.

    15                   So why should I read that sentence -- you know,

    16     the "are listed" that you are referring to has to be read in

    17     context.   It's referring to the several degradations, not

    18     all degradations.     The several degradations that are listed.

    19     Right?

    20                   MS. WACKER:    I think it's referring to all of

    21     the degradation products.

    22                   THE COURT:    Why do I read several?      Just ignore

    23     it?

    24                   MS. WACKER:    I will walk through what the patent

    25     is disclosing.    There are cases, for example, the Baxalta
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 13 of 62 PageID #:
                                  101664                                  12


     1     versus Genentech case, this is a District Court of Delaware.

     2                   THE COURT:    I get that.    I want to focus on

     3     several.   I mean, if there weren't several there, I think

     4     your argument would be really, really strong.          What I need

     5     you to do is explain to me in column 2, lines 41 through 44,

     6     how do I give that meaning?

     7                   MS. WACKER:    Because I think the several

     8     degradation products that Par identified and disclosed are

     9     in Table 1.    And if you look at the rest of them --

    10                   THE COURT:    Right.    All right.

    11                   MS. WACKER:    All right.

    12                   THE COURT:    There are several.     So how do I give

    13     meaning?   That means several.       Absolutely.   Right.   That

    14     means it's nonlimiting.      It's nonexclusive.     What's going to

    15     follow is several.     Otherwise, it would just say the

    16     degradation products as detailed.        It doesn't say that.      It

    17     says several.

    18                   MS. WACKER:    The problem with not limiting it to

    19     Table 1 is that the patent specifically discloses impurities

    20     as a different classification of degradation products or of

    21     impurities in the formulation.

    22                   So if you look at Table 3, it states, Table 3

    23     below details detected impurities, and there what Table 3

    24     discloses are a number of SEQ IDs.        Those are the same.      The

    25     first ones are the same degradants as listed in Table 1, a
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 14 of 62 PageID #:
                                  101665                                  13


     1     few of them, and then it also discloses dimeric acid

     2     present, which Par is taking a position is a degradant.           But

     3     when the patent discloses a list of degradants and a dimer,

     4     it calls them impurities.

     5                    And the way that the patent measures the

     6     impurities is it runs an HPLC --

     7                    THE COURT:    Sorry.    Sorry.   How does that answer

     8     my question?    My question is:       How do I give meaning to

     9     several in column 2 of the patent?        That's what I need to

    10     know.

    11                    MS. WACKER:   Because I think they're saying the

    12     several degradation products.

    13                    THE COURT:    You just said the several and it

    14     doesn't say the several.      It says, and several.      So how do I

    15     give meaning to several?      And isn't the honest answer, I

    16     just have to ignore it?

    17                    MS. WACKER:   Yes, I think you may have to look

    18     to what they describe as impurities, and I think our

    19     position is if it's not limited to Table 1, then it's

    20     indefinite.

    21                    THE COURT:    Right.

    22                    MS. WACKER:   Because the way the patent

    23     describes the measuring degradation products is by running

    24     this HPLC test, and when Par ran that HPLC test, they

    25     identified a number of impurities, and they classified some
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 15 of 62 PageID #:
                                  101666                                  14


     1     of them as degradation products.

     2                   If you look in the Vance declaration, which is

     3     Exhibit A, they classified --

     4                   THE COURT:    I thought I didn't have to go to

     5     extrinsic evidence.

     6                   MS. WACKER:    This is in the prosecution history,

     7     intrinsic evidence.

     8                   THE COURT:    I'm sorry.

     9                   MS. WACKER:    The Vance declaration is intrinsic

    10     evidence that they submitted to the Patent Office, and he

    11     ran the same HPLC and he identified vasopressin degradation

    12     products, dimeric vasopressin, unidentified impurities, and

    13     then additional impurities on top of that.         And so when you

    14     are running this HPLC test that the patent tells you to run

    15     to determine what your impurities are, there has to be a way

    16     to tell a person, for a person of ordinary skill in the art

    17     to be able to understand which of those impurities are

    18     degradation products, and the only way to do that is to go

    19     to Table 1, because a person of ordinary skill in the art is

    20     going to identify what Par has classified as unidentified

    21     impurities.    And how would a person of ordinary skill in the

    22     art know whether that's a vasopressin degradation product or

    23     not?   By definition, it's unidentified.        They don't know

    24     what it is.    That's listed in the Vance declaration, in

    25     numerous formulations that were tested.         If this claim term
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 16 of 62 PageID #:
                                  101667                                  15


     1     is not limited to Table 1, a person of ordinary skill in the

     2     art would not be able to understand the scope of the art of

     3     claim 1 of the '239 patent.

     4                   THE COURT:    It's an indefinite claim?

     5                   MS. WACKER:    Yes.

     6                   THE COURT:    Okay.   Well, we're not on

     7     indefinite.    We're on claim construction.       So I am going to

     8     construe it with the plaintiffs.       I think you offered a

     9     definition relying on the view that the defendants tried to

    10     say that the patentee served as its own lexicographer

    11     defining degradants in Table 1.       I think that unfortunately

    12     for you, but to give you credit for being candid, you want

    13     me to read several out of the patent, and I'm not going to

    14     do that.   I'm not going to read it as "the several."          It

    15     says "several."     And then that is what provides context for

    16     Table 3.

    17                   So I think that there has not been any kind of

    18     definition that's offered with clarity.         I can't say that

    19     the patentee served as his or her own lexicographer.

    20     There's no limitation in the claims, and therefore I think

    21     we should apply the plain and ordinary meaning, and you can

    22     deal with indefiniteness at an appropriate time.

    23                   MS. WACKER:    All right.    And we did deal with

    24     some indefiniteness in our briefing, but we can reserve that

    25     for another time.
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 17 of 62 PageID #:
                                  101668                                  16


     1                   THE COURT:    If you are going to reserve it, I

     2     fully expect that.     I've read all of your other arguments.

     3     At the end of the day, it seems pretty clear to me what it

     4     is and I've ruled the way I have.

     5                   All right.    Let's go to the next term.

     6                   MR. RHOAD:    Good morning, Your Honor.      Robert

     7     Rhoad for the plaintiffs, here to deal with the second claim

     8     term, acetate buffer.

     9                   As with the first term, Par's proposed

    10     construction is ordinary meaning, because when you read the

    11     briefs, it's clear that the parties' dispute is not really

    12     relating to the ordinary meaning of what an acetate buffer

    13     is.   That's a well understood term that persons of ordinary

    14     skill in the art readily understand.

    15                   We did provide a definition because, of it to

    16     the extent Your Honor wishes to provide an actual

    17     construction rather than just saying ordinary meaning,

    18     because we have, we have some concerns about the language

    19     they use, and the language we've chosen is from the very

    20     article that the defendants have cited.

    21                   THE COURT:    All right.    Is this the Mohan

    22     article?

    23                   MR. RHOAD:    The Mohan article.

    24                   THE COURT:    The Mohan article refers to mixing.

    25     You've excised mixing out of your definition.
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 18 of 62 PageID #:
                                  101669                                  17


     1                   MR. RHOAD:    Buffers are aqueous systems that

     2     resist changes in pH when small amounts of acid or base

     3     are added.    And they're mixed -- they are in solution.         What

     4     we're talking about --

     5                   THE COURT:    I think just like your adversary

     6     right before you, you've kind of essentially made an

     7     admission.    They are mixed.     Right?

     8                   MR. RHOAD:    They are both together in solution.

     9     That's correct, Your Honor.       And so what happens is, Your

    10     Honor, when you add, gets into a little bit of chemistry.

    11     So here is acetic acid, CH3 COOH.

    12                   And what happens, and both experts agree, if you

    13     add acetic acid into a solution, into water and make it into

    14     a solution, some proportion of the hydrogen ions will

    15     dissociate from the acetic acid.       So what you end up with is

    16     where the blue line is, CH3 COO negative, so a negatively

    17     charged ion and the positively charged hydrogen ion.           That

    18     negatively charged ion is acetate.

    19                   What happens is when you put acetate into water,

    20     you end up with some of it does not dissociate, so there's

    21     some acetic acid.     Some of it does into acetate and hydrogen

    22     atoms.

    23                   From Mohan what you have below in the arrows

    24     means it's going to reach an equilibrium.         So it's going to

    25     reach an equilibrium.      There's going to be some proportion
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 19 of 62 PageID #:
                                  101670                                  18


     1     of acetic acid, some proportion of acetate and hydrogen

     2     ions.   And this is undisputed.      When you see here, their

     3     expert says, Dr. Kirsch is correct, that when acetic acid is

     4     added to an aqueous solution, both acetic acid and its

     5     conjugate base will be present in the solution.          You have to

     6     look at it in the solution where the buffer is present.           If

     7     you add acetic acid to water in a solution, you're going to

     8     end up with both acetic acid and acetate.

     9                    So what we are resisting with the word mixture

    10     is that you have to add them both.        In other words, that you

    11     have to take water and you have to add in acetic acid and

    12     acetate.   You don't have to, because if you just add acetic

    13     acid, you end up with both in the solution, and that is

    14     confirmed by Mohan.

    15                    THE COURT:   What about page 19 at Mohan,

    16     paragraph 4?    Mix acetic acid and sodium acetate solutions

    17     in the proportions indicated.       It is page 19.

    18                    MR. RHOAD:   Yes.   I just need to find it in my

    19     binder, Your Honor.     Page 19 did you say, Your Honor?

    20                    THE COURT:   Yes.   So it's Exhibit 13A, 567,

    21     which is page 19 of the Mohan article.

    22                    MR. RHOAD:   Yes, Your Honor.     That's a

    23     description of one way to make an acetate buffer.           For

    24     example, Dr. Kirsch in the declaration from the prior cases

    25     they cited says the most common way to make an acetate
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 20 of 62 PageID #:
                                  101671                                  19


     1     buffer is to include both, but that doesn't mean that you

     2     have to.   That's just describing one possible way to make an

     3     acetate buffer.

     4                   And you can see -- and it says, so here is from

     5     Mohan.   Buffer solutions are composed of a weak acid and a

     6     conjugate base.     They are both -- it's undisputed, both

     7     experts agree that when you put acetic acid into water, both

     8     are present, and, in fact, in the parties', in Vasostrict,

     9     the reformulated version, they make an acetate version

    10     merely by adding the acetate, sodium acetate.

    11                   THE COURT:    So let me ask you this:      If I looked

    12     at what the defendants have proposed --

    13                   MR. RHOAD:    Yes.

    14                   THE COURT:    -- you don't want the parenthetical.

    15     Right?

    16                   MR. RHOAD:    Correct.

    17                   THE COURT:    All right.    So let's just put that

    18     aside for a second.     And then as far as the rest of the term

    19     limitation that they've offered, could you live with that?

    20                   MR. RHOAD:    I think we probably could live with

    21     it as long as the add-on of the word mixture is not that you

    22     have to add them separately.

    23                   THE COURT:    So you would go with "a solution

    24     containing" and just delete "a mixture of"?         You could live

    25     with that?
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 21 of 62 PageID #:
                                  101672                                  20


     1                    MR. RHOAD:    Containing a mixture of, yes.

     2                    THE COURT:    All right.

     3                    MR. RHOAD:    I think if you just added an

     4     "aqueous solution that contains a mixture of acetic acid and

     5     acetate," that would be fine.

     6                    THE COURT:    If we just deleted the

     7     parenthetical, you could live with Eagle's proposed

     8     construction?

     9                    MR. RHOAD:    Yes.   The only thing we feared with

    10     their construction is to the extent mixture suggests you

    11     have to add them both separately, and you don't have to do

    12     that.   It just has to -- containing a mixture.         I guess that

    13     would be fine.

    14                    THE COURT:    Yes, okay.   So basically, if they

    15     are willing to delete the parenthetical, you're good.

    16                    All right.    Let's hear from them.     Are you

    17     willing to just delete the parenthetical?

    18                    MS. WACKER:   I am willing to delete the

    19     parenthetical if the Court is willing to find that there's a

    20     clear disclaimer here.

    21                    THE COURT:    So you're not.    I don't see a clear,

    22     unmistakable waiver.     You're talking about the '006 patent

    23     prosecution?

    24                    MS. WACKER:   Yes.

    25                    THE COURT:    You can walk me through it quickly,
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 22 of 62 PageID #:
                                  101673                                  21


     1     but I don't see it.     It has to be clear and unmistakable.

     2     You know, trying to work a compromise here.         They're willing

     3     to drop the parenthetical.

     4                   MS. WACKER:    In the prosecution of the '006

     5     patent, which is a related patent, same term, the acetate

     6     buffer.   And here the Vasostrict label, which is Par's

     7     product, was cited against them.       And the Examiner said that

     8     the acetic acid that was in their earlier formulation

     9     dissociates and there's acetate in the formulation at that

    10     point, which is exactly the argument they are making here.

    11     You have acetic acid, you have disassociated acetate.

    12                   Par then changed their claim language and

    13     changed it to 1 to 10 millimolars of acetate buffer, saying

    14     the label does not disclose use of about 1 millimeter to

    15     about 10 millimolar acetate buffer.

    16                   THE COURT:    Right.   They've injected now like a

    17     range.    They've injected stuff.     It has to be a clear and

    18     unmistakable waiver.

    19                   MS. WACKER:    Their product that was on the

    20     market that was their own product that they were selling

    21     which was a formulation described in that label had

    22     3.7 millimolars of acetic acid, so they know what their

    23     product was, so that couldn't have been the distinguishing

    24     factor.   It had to have been the acetate buffer because the

    25     amount was disclosed in the product they were selling under
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 23 of 62 PageID #:
                                  101674                                  22


     1     that label.    The only thing that was distinguishing here was

     2     the fact that it was an acetate buffer, and they're saying

     3     an acetate buffer then can't be that acetic acid that as a

     4     disassociated acetate.      And that's consistent with, if you

     5     go to --

     6                   THE COURT:    Hold up.    Can you back up, please?

     7                   MS. WACKER:    Yes.

     8                   THE COURT:    All right.    Go ahead.

     9                   MS. WACKER:    And --

    10                   THE COURT:    Actually, your position is the range

    11     is what makes this ambiguous?

    12                   MR. RHOAD:    It's a combination of the range,

    13     Your Honor, and the fact that if you add acetic acid to a

    14     solution, it depends on what else is in there whether or not

    15     it acts as a buffer, including concentration of how much

    16     acetic acid you add as well as the pH.        As it's undisputed,

    17     I think, things that might be a buffer, the same thing might

    18     act as a buffer in one solution at a particular pH and not

    19     as a buffer at a very different pH, and so you can't just

    20     say, this is somehow a disclaimer of the use of acetic acid

    21     forever and always.     That's just wrong.

    22                   And so what we said was that the label does not

    23     disclose, and, by the way, the label did not disclose an

    24     amount of acetic acid and it did not disclose that range.

    25     So it's both the concentration as well as the fact that it
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 24 of 62 PageID #:
                                  101675                                  23


     1     had to actually act as a buffer, which depends on a variety

     2     of things relate to the composition.

     3                   THE COURT:    You know what, I agree with that.           I

     4     don't think it's clear and unmistakable or unequivocal, so

     5     I'm not going to add the parenthetical limitation that has

     6     been proposed by the defendant.

     7                   MS. WACKER:    All right.    One other point I just

     8     wanted to make, Your Honor, is that to the FDA, Par made the

     9     same statement, that Vasostrict, this is their former

    10     formulation that had acetic acid, was currently a

    11     non-buffered formulation.      And so they told the PTO and FDA

    12     that this formulation is non-buffered.

    13                   THE COURT:    All right.    Next term.

    14                   MR. BLACK:    Third and last term, Your Honor.

    15                   THE COURT:    Oh, actually, wait a second.       So I

    16     just want to make clear then what I've done.         So for the

    17     first term I've adopted the plain and ordinary meaning, all

    18     right, consistent with the plaintiffs' proposal.          For the

    19     second term, and it's really the two acetates, I'm going to

    20     adopt defendant's construction, but I'm deleting the

    21     parenthetical.    All right?

    22                   MS. WACKER:    Yes.

    23                   THE COURT:    We're good?

    24                   MR. BLACK:    Yes, Your Honor.

    25                   THE COURT:    All right.    Third term.
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 25 of 62 PageID #:
                                  101676                                  24


     1                   MR. BLACK:    Third term.

     2                   MS. WACKER:    Your Honor, I think I failed to

     3     hand up my slides to you.

     4                   THE COURT:    Okay.   Thank you.

     5                   (Ms. Wacker handed slides to the Court.)

     6                   THE COURT:    Okay.   I'm struggling with this

     7     third term, so let's go on.

     8                   MR. BLACK:    Yes, Your Honor.

     9                   MS. WACKER:    I think that's our clicker.

    10                   MR. BLACK:    Their clicker won't work with our

    11     computer.    Problem solved.    Okay.

    12                   Third term, administering.       Okay.   Par's

    13     construction is ordinary meaning and Eagle's construction is

    14     intravenously administering the pharmaceutical composition

    15     to the human having the properties recited in the claim

    16     (does not permit dilution before administration.)

    17                   It is common ground among the parties that

    18     intravenous administration means into the vein is done, the

    19     vast majority of cases through an IV bag.         The solution is

    20     put into the bag and dripped into the patient.

    21                   There is a corner case where the patient is

    22     in --

    23                   THE COURT:    A what case?

    24                   MR. BLACK:    A corner case, a rare case in which

    25     the patient is in cardiac arrest and you can apply the,
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 26 of 62 PageID #:
                                  101677                                  25


     1     apply it directly.

     2                   THE COURT:    Push.

     3                   MR. BLACK:    Push, correct.     So we have a

     4     patient.   Now, there are other subcutaneous and

     5     intramuscular.    Those are injections, but they go into the

     6     body, and those are not implicated by the intravenous.

     7     So here we have the drip, which is the way it's typically

     8     done.

     9                   Now, let me go -- let's start with the claim

    10     first, actually.     So this is '526, claims 1 and 16.        This

    11     claim has a providing step and then an intravenously

    12     administering step, and claim 16, which is a dependent

    13     claim, says, wherein the pharmaceutical composition is

    14     diluted in a diluent prior to administration.

    15                   So our construction would encompass

    16     administering during the drug either directly to the patient

    17     intravenously through direct injection right out of the vial

    18     or through dilution, which is the way it's described in the

    19     patent over and over again.       And the way those of skill in

    20     the art would understand vasopressin is almost always

    21     applied intravenously.

    22                   Claim 16 --

    23                   THE COURT:    I'm sorry.    Could you repeat what

    24     you just said?    I thought you said or, dilution or IV.

    25                   MR. BLACK:    If I did, I --
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 27 of 62 PageID #:
                                  101678                                  26


     1                   THE COURT:    I want to make sure.      Everything is

     2     IV except for the push, so we're all talking about in

     3     context of IV.

     4                   MR. BLACK:    There is intramuscular injection

     5     also.

     6                   THE COURT:    Right.

     7                   MR. BLACK:    So for our purposes, intravenous,

     8     there's two ways to do it.

     9                   THE COURT:    Right.

    10                   MR. BLACK:    One is diluted in the IV bag, which

    11     is the way it's almost always done.

    12                   THE COURT:    Yes.

    13                   MS. WACKER:    And the other is the push, where

    14     you just put it right in a syringe, usually if someone is in

    15     cardiac arrest.

    16                   THE COURT:    Right.   Okay.

    17                   MS. WACKER:    Now, the question on the table is

    18     whether the administering step of the claims that are at

    19     issue here includes both push and dilution or just push.

    20     That's the difference between the parties.

    21                   We have to start always with the claims and the

    22     language here, and linguistically it is impossible to

    23     construe this patent as having been some sort of disclaimer

    24     of the dilution mode or to lead one of skill of art to

    25     believe that the inventor meant to exclude dilution, because
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 28 of 62 PageID #:
                                  101679                                  27


     1     claim 16 explicitly says the administration step includes

     2     prior dilution.

     3                   We cited some case law in the brief on that, and

     4     I would also cite from last fall Intellectual Venture versus

     5     T-Mobile, 902 F.3d, 1372, which was before Judge Stark and

     6     where he was reversed in I believe October or November.

     7                   So linguistically, the claims --

     8                   THE COURT:    The purpose of that cite is to stand

     9     for the purpose of claim differentiation?         What's the

    10     purpose?

    11                   MR. BLACK:    Yes.   It was a case where there were

    12     a number of things at issue, but the Federal Circuit

    13     discussed a dependent claim and how that must be read in

    14     consonance with the independent.

    15                   THE COURT:    Correct.    Okay.

    16                   MR. BLACK:    That's the most important piece of

    17     evidence here on claim construction.

    18                   We also have the specification, which describes

    19     the illustrative regimen for therapeutic use in the

    20     vasopressin formulation and describes dilution as well as

    21     this statement, that any formulation can be diluted.           It

    22     doesn't completely answer the question because it can be

    23     diluted.   The question is, what does the claim mean?          One

    24     of skill in the art reading the patent, understanding how

    25     this product is applied, looking at the claims, would
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 29 of 62 PageID #:
                                  101680                                  28


     1     understand that what was meant is that both modality are

     2     permissible.

     3                    Now, defendants make a prosecution disclaimer

     4     argument in relation to the '239 patent.         That's the earlier

     5     patent before the CIP, and they say that because dilution

     6     was added to the '239 as a step, that all the claims that

     7     don't have dilution in them prohibit dilution.          That is

     8     exactly backwards.

     9                    The way the claims were set in the '239 was

    10     there was an administering step which permitted both

    11     modalities, dilution and non-dilution, and that claim in the

    12     '239 was narrowed to add the dilution step.         In contrast,

    13     the claims at issue here do not have an explicit dilution

    14     step.   They were not narrowed on that basis.        They were

    15     narrowed on other grounds and approved on other grounds.

    16     There's no way to construe administering to exclude

    17     dilution.

    18                    We don't need extrinsic evidence in this case,

    19     Your Honor, but I will say there's one fact which I

    20     mentioned several times, which is not disputed.          Therefore,

    21     you don't have to decide an issue between the parties on

    22     extrinsic evidence, but that is that by far the most common

    23     modality is the dilution, and that's the one that's

    24     described dozens of times in the patent.         There's no example

    25     in the patent of a non-dilution IV push.
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 30 of 62 PageID #:
                                  101681                                  29


     1                   That's our submission, Your Honor.

     2                   THE COURT:    Okay.

     3                   MR. LASKY:    Your Honor, Ben Lasky for Eagle.

     4                   One thing to get clear off the bat here, that

     5     this is not about disclaimer, this particular term.           This is

     6     about what does the word administration mean?          What is the

     7     plain and ordinary meaning in the context of the intrinsic

     8     evidence?    And so all this, the statements about have you

     9     met the obligations to show disclaimer, those don't apply

    10     here.

    11                   Our submission is that administration in the

    12     context of the claims does not include dilution step and, in

    13     fact, Par has not shown any example, including the examples

    14     shown today, where the word administration was used to mean

    15     dilution and administration.

    16                   So the first thing to note is one thing that's

    17     not disputed here is that in the context of the patents

    18     we're talking about here, the pharmaceutical composition or

    19     the unit dosage form that is administered has to be the same

    20     one that was provided earlier, so the same one with the

    21     recited properties.     So here, for example, concentration,

    22     pH.

    23                   THE COURT:    Wait, wait.    I'm sorry.    I don't

    24     know what you are --

    25                   MR. LASKY:    Yes.    I'm sorry.   So below on the
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 31 of 62 PageID #:
                                  101682                                  30


     1     bottom here is Par's admission from their reply.          They say

     2     there's no dispute that the pharmaceutical composition and

     3     the unit dosage form refer back to the pharmaceutical

     4     compositions and unit dosage forms recited in the earlier

     5     providing steps.

     6                   So if we go back to the claim, what is provided

     7     is a pharmaceutical composition for intravenous

     8     administration and that has certain properties.          It has a

     9     concentration of 0.01 milligrams per ml to about

    10     0.07 milligrams of vasopressin and it has a pH.          That's

    11     another example of a property.

    12                   And what Par admits is that that is the

    13     pharmaceutical composition that must be intravenously

    14     administered in the Step C here.

    15                   THE COURT:    Okay.   And?

    16                   MR. LASKY:    Okay.   Now, what's also undisputed

    17     is that when you dilute a pharmaceutical composition, the

    18     properties change.     So, for example, under a 20 to 1

    19     dilution, this calculation was performed by our expert, Dr.

    20     Amiji.   You get a different vasopressin concentration and a

    21     different pH, and those will fall outside of the claims.

    22                   Now, what does the specification say about

    23     dilution?    What the specification makes clear is that

    24     dilution is a separate step to administration.          When the

    25     specification says to administer, it never uses it to mean
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 32 of 62 PageID #:
                                  101683                                  31


     1     dilute and then administer.       So, for example, these are what

     2     you were pointed to by Mr. Black.        Any formulation described

     3     herein can be diluted prior to administration.

     4                    So, first of all, can be shows optionality, but

     5     dilution is a separate step that occurs prior to

     6     administration.     Again, if we go to Example 8, which they

     7     pointed to, we have diluted prior to administration, diluted

     8     prior to use.

     9                    And then when dilution in every single one of

    10     the, I think they said there were 74 examples or something

    11     where dilution is done.      In every single one there is a

    12     separate dilution step mentioned, and then what is

    13     administered is "the diluted unit dosage form," not the, not

    14     the unit dosage form that was provided earlier.

    15                    In contrast, there are many examples in the

    16     patent where what is administered is the pharmaceutical

    17     composition.    There's no separate dilution step.        And what

    18     is important to note is that if you go through the examples,

    19     what you will see are multiple instances where the examples

    20     are essentially identical except for the fact that in

    21     one instance, you have dilution, and in one instance, you

    22     don't.

    23                    Now, it wouldn't make sense to have the first

    24     example if it just meant you could dilute as well.          This is

    25     the only real differentiator between these two examples.
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 33 of 62 PageID #:
                                  101684                                  32


     1                   THE COURT:    Back up.

     2                   MR. LASKY:    Sure.

     3                   THE COURT:    Okay.   Go ahead.

     4                   MR. LASKY:    And then if we look at the claims,

     5     if you look across the whole set of patents, the claims are

     6     directed at different subsets of the embodiments.          So, for

     7     example, in the '239 patent, they specifically tracked the

     8     language of the embodiments where dilution is done.           We have

     9     providing a pharmaceutical composition for intravenous

    10     administration consisting of any unit dosage form, and then

    11     we have all the properties I mentioned before.

    12                   Then specifically diluting the unit dosage form,

    13     and then you're not administering the unit dosage form

    14     anymore.   You're administering the diluted unit dosage form,

    15     whereas in the claims of the other patents, the '526 patent

    16     as an example, what you are providing is the pharmaceutical

    17     composition and then you're intravenously administering the

    18     pharmaceutical composition, the same one with the same

    19     properties.

    20                   THE COURT:    All right.    Hold up one second.

    21                   MR. LASKY:    Sure.

    22                   THE COURT:    Okay.   So do you have a screen shot

    23     where you've got the '239 claim?

    24                   MR. LASKY:    The full claim?

    25                   THE COURT:    The full, yes.
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 34 of 62 PageID #:
                                  101685                                  33


     1                   MR. LASKY:    I don't believe I do.

     2                   THE COURT:    Can we use either slide 10?       Thank

     3     you.   Perfect.   All right.

     4                   So now you had underlined, you were focusing on

     5     the language in C, administering the unit dosage form.

     6     Correct?

     7                   MR. LASKY:    That's correct.

     8                   THE COURT:    All right.    Now, look at under there

     9     where it says, wherein the unit dosage form has a pH of 3.5

    10     to 4.1, and your position is, when is that pH measured,

    11     before or after dilution?

    12                   MR. LASKY:    So because that is referring to the

    13     unit dosage form rather than the diluted unit dosage form,

    14     that's referring to the dosage form that's provided.

    15                   THE COURT:    So it's before dilution?

    16                   MR. LASKY:    It's before dilution.

    17                   THE COURT:    Which is what they say?

    18                   MR. LASKY:    That's correct, Your Honor.

    19                   THE COURT:    I just wanted to make sure.       Sorry

    20     about that.

    21                   MR. LASKY:    No problem.

    22                   So while we're looking at the comparison of the

    23     claims here, I wanted to mention a case in our briefing

    24     that's instructive, which is the Haemonetics case, which we

    25     think is directly on point and that's 607 F.3d, 776, Federal
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 35 of 62 PageID #:
                                  101686                                  34


     1     Circuit, 2010.

     2                   So in that case, the claims recited a

     3     centrifugal unit, and the centrifugal unit comprised, for

     4     want of a better word, a vessel and tubes.         And then later

     5     on the claim said, wherein the centrifugal unit has certain

     6     dimensions.    And the plaintiff tried to say, well, if you

     7     look at the embodiments, it only makes sense if you read

     8     the centrifugal unit to allow for only the vessel to have

     9     those dimensions, and the Federal Circuit said, no, you have

    10     to give meaning to the antecedent basis, the centrifugal

    11     unit.   So you have to go back to what it said the

    12     centrifugal unit was.      It was the vessel and the tubes.

    13     And even closer to this case as well, there were, in fact,

    14     two embodiments listed in the claims where the specification

    15     applied those same dimensions to one embodiment where it was

    16     both the vessel and the unit and one where it was just the

    17     vessel.

    18                   So here, for example, we have two embodiments,

    19     one -- that are almost identical except we have dilution in

    20     one and no dilution in the other.        And the fact that they

    21     tracked the no dilution claim for these patents and the

    22     dilution for the '239, that shows that for the other

    23     patents, no dilution is encompassed.

    24                   If we go to the prosecution history, this is

    25     consistent as well.     The argument there, we don't have to
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 36 of 62 PageID #:
                                  101687                                  35


     1     get into the details, but when they talk about dilution,

     2     they say, no reference suggests dilution of a vasopressin

     3     formulation prior to administration.        Again, administration

     4     itself is not encompassing dilution.        Dilution is a separate

     5     step.   Of course, what they did in response to this is to

     6     add the dilution step to the '239 patent.

     7                   Now, one of the arguments we saw in the

     8     briefing --

     9                   THE COURT:    Wait.   So that's in the context of

    10     the '239 patent?

    11                   MR. LASKY:    That's correct.

    12                   THE COURT:    They added the limitation in order

    13     to get it approved?

    14                   MR. LASKY:    That's correct.

    15                   THE COURT:    Okay.

    16                   MR. LASKY:    They said, again, it's a dilution

    17     before administration.      They didn't say, as I think

    18     Mr. Black was suggesting, that administration now includes

    19     dilution.    Wherein the administration step includes

    20     diluting, they said, added the separate dilution step for

    21     administration, which they have not done for these other

    22     patents.

    23                   Now, there was some suggestion in the briefing,

    24     I'm not sure if they are still relying on this, but they

    25     said at one point if our construction reads out the
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 37 of 62 PageID #:
                                  101688                                  36


     1     preferred embodiment, but there is no dispute in this case.

     2     It's all throughout the briefing and we heard it from

     3     Mr. Black that it can be administered either undiluted or

     4     diluted.   We can have an IV push undiluted and diluted.          And

     5     the case law is clear that where the patent describes

     6     multiple embodiments, every claim doesn't need to cover

     7     every embodiment.     They've covered the diluted form, the

     8     diluted method in the '239 and these other patents.           They've

     9     covered the embodiments where dilution is nothing.

    10                   THE COURT:    All right.    So a count for claim 1

    11     and claim 16 in the '526, that's their best argument.

    12                   MR. LASKY:    Sure.   Okay.   So claim

    13     differentiation can apply its presumption but it's

    14     rebuttable, and we would say it's clearly rebuttable here,

    15     because if you look at the flow of these claims.

    16                   So claim 1 of the '526, we saw it before.         We've

    17     got, we're providing the pharmaceutical composition with the

    18     certain properties and then we're administering the

    19     pharmaceutical composition, and they admit that that means

    20     the composition with the same properties.

    21                   Claim 16 comes in and it says, wherein the

    22     pharmaceutical composition is diluted in a diluent prior to

    23     administration.     So they're adding another step between the

    24     providing and the administering, but what the result of that

    25     is, is that the claim now becomes inconsistent with itself,
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 38 of 62 PageID #:
                                  101689                                  37


     1     because if we look at claim 17, now the pharmaceutical

     2     composition is diluted to a concentration of, and this is

     3     .21 micrograms per ml to about 2.1 micrograms per ml,

     4     and that falls outside the range that's in the providing

     5     step.

     6                   So now what we have is we're providing a

     7     composition where diluting it to a concentration where it no

     8     longer falls within the claim, now we're not administering

     9     the pharmaceutical composition anymore, we're administering

    10     a diluted pharmaceutical composition in the meaning of the

    11     patent that is not the pharmaceutical composition because it

    12     doesn't have the recited properties.

    13                   And the Federal Circuit and also Judge Dyk, for

    14     example, in this court, have both spoken to what happens in

    15     those circumstances.     Where the claims, dependent claim is

    16     inconsistent with the independent claim, the result is not

    17     that you broaden the independent claim to go against the

    18     claim language in the specification.        In fact, what happens

    19     is the dependent claims are invalid.

    20                   In the Baxalta case, the Federal Circuit has

    21     held something similar in the Enzo versus Applera case,

    22     which is in the Federal Circuit.       I will just go through

    23     that because it might be instructive, the facts of that

    24     case.

    25                   In Enzo, the patents related to so-called DNA
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 39 of 62 PageID #:
                                  101690                                  38


     1     hybridization technology.      Don't need to understand it, Your

     2     Honor, but basically, what it is, is labeled piece of DNA

     3     that's put into a sample and then you detect if there is a

     4     particular pathogen or a virus.

     5                    Now, there were two types of protection known.

     6     One was known as direct.      So for example, if the

     7     hybridization probe emitted fluorescence, you could detect

     8     it directly.    Another method known was indirectly, where you

     9     had to bind another compound.

    10                    Now, the Court looked at the independent claim

    11     and said, well, based on the claim language in the context

    12     of the specification, it's clear that the independent claim

    13     only captures indirect detection.        And the patentee, like

    14     here, said, but, hang on.      It is the dependent claims that

    15     capture methods of direct detection.        And the Federal

    16     Circuit said, I'm not -- we're not going to broaden the

    17     scope of the independent claim.       That would be inappropriate

    18     because that would again be inconsistent with the plain

    19     language of that independent claim.

    20                    So that's what we would say here, that the --

    21     that's what we would say here, that claim 16 and 17 are just

    22     facially inconsistent with claim 1, and therefore they

    23     shouldn't be used to improperly expand the scope of claim 1

    24     beyond what the specification would support.         They are

    25     invalid.
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 40 of 62 PageID #:
                                  101691                                  39


     1                   Do you have any questions on claim

     2     differentiation?

     3                   THE COURT:    Let me hear their responsive

     4     argument.    You can come back and argue again.

     5                   MR. LASKY:    Thank you.

     6                   MR. BLACK:    So, Your Honor, the rule of claim

     7     construction, of course, is to read the claim in the light

     8     of one of skill in the art.

     9                   THE COURT:    Right.   I know the general

    10     principles of law, but help me out or walk me through

    11     this.

    12                   MR. BLACK:    Okay.    So let me go back to my

    13     slides.

    14                   THE COURT:    Tell me, you know, address

    15     specifically their argument that you can't really read --

    16     it's facially inconsistent with claim 1.

    17                   MR. BLACK:    It's not facially inconsistent with

    18     claim 1 unless you assume that claim 1 clearly,

    19     unequivocally excludes exactly what they say.          I mean, in

    20     the Enzo case, the Court concluded, of course, it's right.

    21     If a claim says, if an independent claim says X and the

    22     dependent claim says not X, you can have a conflict which

    23     could render the dependent claim invalid, but that

    24     presupposes that you know what X is to start with.

    25                   If there is any ambiguity in the claim, we, of
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 41 of 62 PageID #:
                                  101692                                  40


     1     course, have to apply the rule that invalidity is only

     2     established by clear and convincing evidence.          And what

     3     we're doing here with this claim differentiation argument is

     4     trying to interpret the patent, trying to determine what the

     5     inventor understood, what the Examiner understood, and what

     6     one of skill in the art would understand from just looking

     7     at the claim just within that box.        And given the

     8     specification, which only talks about dilution and IV

     9     administration, unlike the Enzo case where the specification

    10     was the opposite, it only referred to the other type of, the

    11     other issue.

    12                    In our case, the specification says IV drip.

    13     The claim says administer and we have a dispute.          Does it

    14     include IV drip or not?      One piece of evidence, and we say

    15     it's dispositive actually, is if there's any ambiguity in

    16     the claim, you look at claim 16 and you see that the

    17     inventors and the Patent Office, and, frankly, one of skill

    18     in the art would understand that dilution is part of the

    19     claim.   We did not exclude it.

    20                    Now, I would also note that '526 claim says

    21     administering a pharmaceutical composition, not a unit

    22     dosage form.    And if you say to a nurse or doctor in the

    23     hospital, give them the pharmaceutical composition, they

    24     say, okay.    I can give it to them in the syringe.        I can

    25     give it to them with water.       I can give it to them any way I
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 42 of 62 PageID #:
                                  101693                                  41


     1     want.   What's important is that the pharmaceutical

     2     composition goes from that vial into the patient.          That's

     3     what the patent is about.      And unlike in Enzo, where

     4     apparently there was a clear indication in the specification

     5     that the limiting version was intended, we have the opposite

     6     here.

     7                   And if Your Honor came into the hearing today

     8     with any doubt that there was sort of, some doubt about what

     9     administering meant, you've got to construe the claims to be

    10     consistent, not inconsistent.        That's what the case law

    11     says.   Claim 16 clearly evinced the intent of the inventor

    12     to include dilution.

    13                   THE COURT:    To include it if something different

    14     than was in number one?

    15                   MR. BLACK:    I don't understand the question,

    16     Your Honor.    We say administering the pharmaceutical

    17     composition can administer, you can administer the

    18     composition either directly or with water.         You can take the

    19     pill or you can take the pill with water.         The effect is the

    20     same.   Pharmaceutical composition ends up in the patient's

    21     body and solves the hypotension problem.         It's not excluded

    22     by the claim, and claim 16 makes it clear that the inventor

    23     intended to claim that embodiment.

    24                   THE COURT:    Right.    Okay.

    25                   MR. BLACK:    Thank you.
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 43 of 62 PageID #:
                                  101694                                  42


     1                   MR. LASKY:    Your Honor, if I may respond?

     2                   THE COURT:    Yes, please.

     3                   MR. LASKY:    The patentee in every single case

     4     where, in Baxalta, in Enzo, the patentee said the same

     5     thing.   There's an ambiguity here, and this is the -- the

     6     claim differentiation is dispositive.        But what is important

     7     here is, what does the specification and the claims, what do

     8     they say about what administration means?         And we have not

     9     been pointed to one example where the specification or

    10     claims use administering to refer to dilution.          And this is

    11     another example, because we see that the dilution is done

    12     prior to administration.

    13                   So they are trying to add another step that is

    14     inconsistent, which results in, in the words of the patent,

    15     not giving the pharmaceutical composition.         It's giving the

    16     diluted pharmaceutical composition.        This isn't a pill where

    17     you can either take it without water or with water.           This is

    18     something that's in solution where the properties change

    19     once you dilute it to the point where you no longer are

    20     administering the pharmaceutical composition to the human.

    21                   What we heard from Mr. Black is, well, if you

    22     give this composition to a nurse and say administer it,

    23     then, you know, the nurse can effectively do what he or she

    24     wants, but, of course, that's extrinsic evidence.          In the

    25     intrinsic evidence, what you would be directing the nurse to
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 44 of 62 PageID #:
                                  101695                                  43


     1     do is either to administer the pharmaceutical composition or

     2     dilute it and administer the diluted form.         That's how the

     3     patent talks about dilution.

     4                   If I may go back to some additional intrinsic

     5     evidence if Your Honor has no more questions about claim

     6     differentiation.

     7                   THE COURT:    Sure.

     8                   MR. LASKY:    Now, one of the things again we

     9     heard from Mr. Black throughout the briefing is that the

    10     dilution is done in almost all circumstances and, in fact,

    11     there was -- there's a suggestion by Par and Dr. Coralic

    12     that if you followed these claims literally as we construe

    13     it, that this would somehow be unsafe or imprecise.           And

    14     this argument that has come up now is actually inconsistent

    15     with what we saw in the prosecution history.

    16                   I showed Your Honor this excerpt before.         This

    17     is now in slide 64, where certain prior art was

    18     distinguished on the basis that it failed to teach or

    19     suggest dilution of a vasopressin formulation prior to

    20     administration at the time of the invention.

    21                   And one of those references -- I'm sorry it's

    22     the Treschan reference that you see highlighted at the top.

    23     And if you look at Treschan, Treschan talks about infusion

    24     of vasopressin at the same dosage as in these patents.

    25                   On the right, that's from Dr. Dr. Coralic's
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 45 of 62 PageID #:
                                  101696                                  44


     1     declaration.    It's talking about the claimed range of

     2     vasopressin doses, 0.01 to 0.1 units per minute.          Treschan's

     3     dosage rate falls directly into that range.         And now Par and

     4     Dr. Coralic say that method of administration could be

     5     precise.    A patient of skill in the art would know

     6     automatically that you needed to dilute it.         But during

     7     prosecution in the intrinsic evidence, Par represented to

     8     the Patent Office that the reference that has the same

     9     dosage rate doesn't even suggest dilution.

    10                    So I think we can therefore take this

    11     declaration for what it is.       It's an extrinsic, piece of

    12     extrinsic evidence that is contrary to the intrinsic

    13     evidence.

    14                    There were a couple more arguments in the

    15     briefing about positions that we took earlier in the notice

    16     letter and the invalidity contentions just for completeness.

    17     It's not clear that they're pressing those arguments, but

    18     for completeness, the case law is clear that ANDA filers are

    19     not limited to the theories in their paragraph 4 letters and

    20     that statements in invalidity contentions about claim

    21     construction are not admissions.       And particularly here,

    22     this is on slide 70, where we pointed out in our

    23     infringement contentions that the arguments are based on the

    24     apparent view that administration allows dilution, which we

    25     said we don't agree with, but if that's the case, then
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 46 of 62 PageID #:
                                  101697                                  45


     1     additional prior art is implicated.

     2                   And so, you know, there's nothing inconsistent

     3     in our positions in the invalidity contentions and our claim

     4     construction position here.

     5                   Does Your Honor have any questions?

     6                   THE COURT:    No.    Anything else?

     7                   MR. BLACK:    Just briefly, Your Honor in the Enzo

     8     case, it was, in fact, the opposite of what we have here.

     9     In Enzo, the intrinsic evidence indicated that the purpose

    10     of the invention was directed towards indirect detention as

    11     opposed to direct detection.       And what the debate was at

    12     claim construction was whether a dependent claim that

    13     included direct detection would mean that you could read it

    14     in.

    15                   Here we have the opposite.       The specification is

    16     clearly directed to and only discusses dilution, and that

    17     makes all the difference.      When you read everything together

    18     as they did before they sent their ANDA notice to us, we're

    19     not saying they're bound by judicial estoppel or anything

    20     like that.    We're just say the natural reading of someone of

    21     skill in the art when you read through this is to understand

    22     what it includes dilution.        They kind of got that.    When we

    23     get to litigation, people take positions.         They're right.

    24     But the way one of ordinary skill in the art would read it,

    25     an engineer at his desk, given the patent, what do you get
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 47 of 62 PageID #:
                                  101698                                  46


     1     out of this, is what we say it is, that you includes both

     2     dilution and non-dilution.

     3                   One thing about the claims, Your Honor.         It's a

     4     subtle point, but I want to just address it, is the first

     5     part of the claim has the dosage form.        That's what's in the

     6     vial and it's put in terms of units.        It's put in terms of

     7     mg's per ml, but when you are giving it to the patient, what

     8     you are worried about is how much is getting to the patient

     9     per minute, and that relates to the bag.         When you put it in

    10     the bag, you inject the pharmaceutical into the bag and then

    11     it drips into the patient on a minute basis.         You want to

    12     get a certain number of units per minute.         To get from the

    13     vial to administration on a per minute basis requires almost

    14     always dilution.

    15                   It is possible to sit there with a syringe and

    16     for a couple of minutes trying to calibrate it, but that's

    17     not real life and that's not what these claims are about.

    18     All the examples are about dilution.        We did not put a

    19     dilution limitation into these claims intentionally.           In

    20     fact, we claimed a dependent claim that showed we were

    21     preserving that modality and that is more than sufficient to

    22     interpret the claims.

    23                   MR. LASKY:    Your Honor, may I briefly respond to

    24     a couple things?

    25                   THE COURT:    Sure.
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 48 of 62 PageID #:
                                  101699                                  47


     1                   MR. LASKY:    One thing we've heard several times

     2     now from Mr. Black is that the specification does not refer

     3     anywhere to administering an undiluted form, and that's

     4     contrary to even their own expert's submission and the

     5     specification.    They even in their briefing, they say that

     6     when dilution is not specified, that it allows for both.

     7                   So the suggestion that the specification does

     8     not mention at all undiluted administration and this is

     9     somehow opposite to Enzo, that's just not correct even under

    10     their own position.

    11                   THE COURT:    Well, wait.    I mean, I get your

    12     point that the written description distinguishes between

    13     dilution and administration, but there's no embodiment

    14     described in the written description, is there, of an

    15     administration of undiluted?

    16                   MR. LASKY:    I actually disagree with that, Your

    17     Honor.

    18                   THE COURT:    Where is it?

    19                   MR. LASKY:    Because what we see here are

    20     identical embodiments where you have dilution and you're

    21     administering the diluted form and then you have embodiments

    22     where you're administering the dosage form.

    23                   THE COURT:    So show me where embodiment is where

    24     it's undiluted.

    25                   MR. LASKY:    So, Your Honor, I guess what the
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 49 of 62 PageID #:
                                  101700                                  48


     1     question is, does it ever say administer it undiluted, and

     2     what our position is, is that that is not necessary.

     3                   THE COURT:    That's different than you just said.

     4     You've switched gears.

     5                   MR. LASKY:    Well --

     6                   THE COURT:    You just said that they point out

     7     that there's only one embodiment, which they have.          Right?

     8     And then I said to you, well, I will give you some.           You

     9     know, there's some distinguishing dilution from

    10     administration or, you know, in the written description, but

    11     I've asked you for embodiment.        Now you say you do admit

    12     that there is nothing.

    13                   MR. LASKY:    I don't admit that, Your Honor.

    14                   THE COURT:    Then show me where it is.

    15                   MR. LASKY:    We have it up here, and the point

    16     that we're making --

    17                   THE COURT:    Show me where it is.

    18                   MR. LASKY:    Here, where it says intravenously

    19     administering --

    20                   THE COURT:    Here, where?    On the left, on the

    21     right?

    22                   MR. LASKY:    I'm sorry.    On the left.    These are

    23     essentially identical where they say on the left you are

    24     providing the pharmaceutical composition and you're

    25     administering the pharmaceutical composition.          And on the
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 50 of 62 PageID #:
                                  101701                                  49


     1     right, you're providing the same pharmaceutical composition.

     2     You're diluting it and then you're administering the diluted

     3     unit dosage form.

     4                   Our view is it doesn't need to say undiluted

     5     because that is -- that is what the pharmaceutical

     6     composition means, because it's talking about the

     7     composition with those properties.

     8                   THE COURT:    All right.    Hold on.    Just hold that

     9     for a second.    All right.    So I think it is.     Is this not an

    10     embodiment on the left?

    11                   MR. BLACK:    It's an embodiment that would permit

    12     both, Your Honor.

    13                   THE COURT:    I'm sorry?

    14                   MR. BLACK:    It's an embodiment that would

    15     involve both dilution and non-dilution.         And the one on the

    16     right requires dilution and a vast majority of the

    17     discussion of the patent, that explicit examples are

    18     relating to dilution.      There's no statement anywhere that

    19     explicitly discusses IV push.       The focus is on dilution.

    20                   I would also point out that the number of units

    21     on the left means that they're talking about dilution.           It

    22     doesn't exclude it, Your Honor.       We have not said that.      But

    23     the focus of the patent is on dilution, which is the way

    24     it's done, and everybody agrees, vast majority of cases.

    25     This would be known to one of skill.
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 51 of 62 PageID #:
                                  101702                                  50


     1                    MR. LASKY:    Your Honor, I would just like to

     2     point out that we've now heard a couple of times that the

     3     units per minute means that it's, that it is diluted.           What

     4     the units per minute means is that it's through intravenous

     5     administration.     These pharmaceutical dosage forms, if you

     6     look at the properties in the composition, they already have

     7     water in them.    They're solutions for intravenous

     8     administration.     So just because it has units per minute,

     9     which suggests intravenous administration, that doesn't

    10     suggest dilution.

    11                    The statement by Mr. Black that it's not real

    12     life that you don't dilute, that's just attorney argument

    13     and at best extrinsic evidence.

    14                    THE COURT:    Say that last sentence again.

    15                    MR. LASKY:    Sure.   The statement that given

    16     these, the vasopressin in units per minute means that it has

    17     to be diluted, and if it's not, I think Mr. Black said

    18     that's not real life.       That's not the evidence.     There is no

    19     evidence that people don't give undiluted dosage forms in

    20     units per minute.     The point is this dosage form already has

    21     water in it.    It's ready for intravenous administration, so

    22     it can be given in per minute dosage, and even Dr. Coralic

    23     admitted that that is possible.       I mean, he said through his

    24     extrinsic declaration that it may be, could be imprecise,

    25     but that's not, that doesn't mean that's not real life, that
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 52 of 62 PageID #:
                                  101703                                  51


     1     that is not done or possible.       That's what the claims talk

     2     about, that you give the pharmaceutical composition in that

     3     dosage rate.

     4                    THE COURT:   Now, your positions, you both think

     5     I should not resort to extrinsic evidence.         Is that right?

     6                    MR. LASKY:   That's correct.

     7                    MR. BLACK:   Yes, Your Honor, but because I think

     8     the one point that's important, which is that this is almost

     9     always administered with an IV bag is agreed.          That one

    10     part, that one piece of evidence, that one fact I think is

    11     relevant, but it is not disputed.

    12                    MR. LASKY:   And if we're going to accept that,

    13     we also have to accept that it's undisputed that it can be

    14     given in an IV bag undiluted or diluted.

    15                    MR. BLACK:   We've never debated that.      I would

    16     like to respond to the charge of making attorney argument to

    17     which I plead guilty, but I would like to point something

    18     out.

    19                    On the left, the claim on the left, when you

    20     started with the providing a pharmaceutical composition, the

    21     very middle of that range is what's known as 20 units of

    22     vasopressin.    That's, it converts to 20 units.        That's not

    23     disputed.

    24                    When you get down to the administering step,

    25     you're talking about something as low as .01 units being
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 53 of 62 PageID #:
                                  101704                                  52


     1     provided to the patient per minute.        So you've got a vial

     2     with 1 milliliter of solution in it, a small vial that has

     3     20 units, and you've got to give to the patient .01 units.

     4     That is on a per minute basis.       Is it possible that somebody

     5     could do that standing there with a syringe over a period of

     6     a couple minutes?     I don't know.    Maybe, but that is

     7     certainly not the normal and ordinary reading of that.

     8                   On the other hand, if you dilute it in a bag,

     9     which is the way things are done in a hospital, and hook it

    10     up to one of those IV bags with a meter on it, it all works.

    11     But, again, Your Honor, nothing turns on that in this case.

    12     The issue is, what does the claim say?        Administering can

    13     involve both.    You have a dependent claim.       We have no

    14     disclaimer.    The intrinsic record we believe is clear that

    15     both embodiments are covered by the claims that are at issue

    16     with this term.

    17                   THE COURT:    All right.    One more time.     Yes.

    18                   MR. LASKY:    I'm sorry?

    19                   THE COURT:    If you want one more?

    20                   MR. LASKY:    Yes, Your Honor.     I will give Your

    21     Honor just one more thing.

    22                   So, again, these statements that, you know,

    23     would it be possible to put a syringe over it?          In the

    24     intrinsic evidence, they were faced with the same dosage

    25     rate and then said that this doesn't even suggest dilution.
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 54 of 62 PageID #:
                                  101705                                  53


     1     They told the Patent Office that.

     2                   So, and --

     3                   THE COURT:    Wait.    Hold up a second.

     4                   MR. LASKY:    I'm sorry?

     5                   THE COURT:    Hold up a second.     Where is the

     6     line?

     7                   MR. LASKY:    Yes.    The line that they told the

     8     Patent Office is here, that Treschan that doesn't suggest

     9     dilution of a vasopressin formulation prior to

    10     administration.

    11                   And if we go to Treschan --

    12                   THE COURT:    And what's your response to that?

    13                   MR. BLACK:    There's a long list of prior art

    14     that was cited and the inventor gave three or four different

    15     reasons to distinguish an entire list, and then an amendment

    16     was made.

    17                   THE COURT:    Can you put it back?      Put it back,

    18     that paragraph?     Thank you.     Okay.

    19                   MR. BLACK:    That's what the patentee said.       All

    20     of these references, alone or in combination, fail to

    21     suggest every element as amended here with at least because

    22     no reference suggests dilution of a vasopressin formulation

    23     prior to administration, storage at two to eight degrees, or

    24     that the unit dosage form of the vasopressin formulation

    25     exhibits less than five percent.
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 55 of 62 PageID #:
                                  101706                                  54


     1                   So as a compound distinction over compound

     2     pieces of art, the Examiner actually said, well, dilution is

     3     not explicitly disclosed in Treschan because it's not.            And

     4     it's not explicitly disclosed.       That doesn't matter because

     5     it's obvious.    That's what the Examiner said.        There's no,

     6     there's no disclaimer here of any sort.

     7                   And, by the way, a bag, you can prepare bags

     8     ahead of time at that rate and just give it to the patient

     9     as well.   That happens in the real world.        But this isn't

    10     any kind of disclaimer of any claim term in the patent that

    11     we're addressing here, and it's sort of a fourth order

    12     argument that we don't quite understand, frankly.          It

    13     doesn't address administering or what that means.          Everybody

    14     admits it can involve both.        I don't see how this is a clear

    15     and unmistakable disclaimer of the claim language at issue

    16     in this case.

    17                   MR. LASKY:    Your Honor, if I may clarify?

    18                   THE COURT:    Just wait a second, please.

    19                   MR. LASKY:    Yes.

    20                   THE COURT:    And so your position is so to get

    21     the '239 patent through the PTO, it had to add dilution to

    22     narrow it?

    23                   MR. LASKY:    That is one thing they did.         But

    24     what I want to make clear again is we're not saying that

    25     this is a disclaimer for the other patents.         What we're
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 56 of 62 PageID #:
                                  101707                                  55


     1     saying is that their current extrinsic argument that you

     2     can't perform the other claims in an undiluted manner is

     3     not, is not credible and not consistent with what they told

     4     the Patent Office.

     5                   So we're not saying this is a formal disclaimer.

     6     We're saying that their statement in the intrinsic record

     7     that you can, you can and, indeed, would at the time perform

     8     0.01 to 0.04 units per minute without dilution.          That is

     9     part of the intrinsic record.       The extrinsic statement that

    10     you couldn't do it or it would be imprecise or that's not

    11     part of life, that is inconsistent with the intrinsic

    12     record.

    13                   THE COURT:    All right.

    14                   MR. LASKY:    Just one other point I will make is,

    15     and we have not highlighted it here, but you see the word

    16     "or" there.    So Mr. Black suggested that this was some sort

    17     of compound, like none of the references have the

    18     combination of these three things.        In fact, what they told

    19     the Patent Office is no reference suggests dilution, storage

    20     of these parameters, or that the dosage form exhibits less

    21     than about five percent degradation.        So they're telling the

    22     Patent Office that none of these references has any of

    23     those, suggests or teaches any of those three requirements.

    24                   THE COURT:    Okay.   All right.    Let's take a

    25     break until ten of.
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 57 of 62 PageID #:
                                  101708                                  56


     1                   (Short recess taken.)

     2                                -    -   -

     3                   (Proceedings resumed after the short recess.)

     4                   THE COURT:       All right.   Be seated.

     5                   So I don't know that you all have stated this

     6     explicitly, but just make sure I understand.         The five

     7     patents, or, sorry, the four patents.         Yes.   The '478, '209,

     8     '526 and '223, they share the same specification or it

     9     doesn't differ in any material respect?

    10                   MR. RHOAD:       The '239 was the earliest patent.

    11                   THE COURT:       No, I'm not counting the '239.

    12     That's different.     In other words, other than the '239,

    13     there are five patents?

    14                   MR. RHOAD:       There are additional -- there were

    15     two sets of CIPs, so there were additional disclosures.

    16     Sitting here, I don't know if that last set of additional

    17     information, I don't think that relates to these issues

    18     because it was more directed to impurities and some other

    19     things, but I don't believe it impacts any of the

    20     administering issues.

    21                   MR. LASKY:       We would agree with that.

    22                   THE COURT:       All right.   You agree.   That's what

    23     I thought.

    24                   All right.       This is a difficult issue and

    25     counsel did nice jobs of framing the issues.         I'm
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 58 of 62 PageID #:
                                  101709                                  57


     1     ultimately, and I've been asked to add a parenthetical to

     2     the term administering to the human a unit dosage form.

     3     Actually, let's do this.      I think you all are agreed in

     4     setting it up.    Basically, we've got five patents, and the

     5     issue is what does administering mean in those five patents.

     6     Correct?

     7                   MR. LASKY:    Correct.

     8                   THE COURT:    Right?   Correct?

     9                   MR. BLACK:    Yes, Your Honor.

    10                   THE COURT:    All right.    And then one of the

    11     patents, the '239, you all agree, it's different than the

    12     other four.    It has a limitation, which basically adds

    13     dilution.    You all agree with that?

    14                   MR. LASKY:    Correct.

    15                   THE COURT:    You agree with that?

    16                   MR. BLACK:    Yes.

    17                   THE COURT:    All right.    For that reason, there

    18     is no proposed parenthetical to add a diluting limitation to

    19     the '239.    Correct?

    20                   MR. LASKY:    Correct.

    21                   THE COURT:    Correct?

    22                   MR. BLACK:    Yes.

    23                   THE COURT:    All right.    So at the end of the day

    24     then, what I've been asked to do is to determine whether

    25     there should be a parenthetical, or --
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 59 of 62 PageID #:
                                  101710                                  58


     1                   MR. LASKY:    Your Honor, could I just caveat

     2     that?

     3                   THE COURT:    Yes.

     4                   MR. LASKY:    There is -- the parenthetical still

     5     would apply in the sense that administering is not what

     6     gives the dilution.     It's the dilution step that gives the

     7     dilution.    So administering is consistent throughout the

     8     patent.    It does not allow dilution.      In the '239, there's a

     9     separate step that's dilution, and you're administering the

    10     diluted unit dosage form.

    11                   THE COURT:    Okay.    Hold on a second.

    12                   All right.    I see.   So instead of having a

    13     parenthetical, what you have added is language to the effect

    14     generated by diluting --

    15                   MR. LASKY:    Correct.

    16                   THE COURT:    -- to the defendant's proposed

    17     construction of the administering term in the '239 patent.

    18     Correct?

    19                   MR. LASKY:    Correct.

    20                   THE COURT:    All right.    So then it's in effect

    21     then, even though you both said there is no parenthetical,

    22     in effect, it's the same qualification.         You're adding a

    23     limitation effectively but not using a parenthetical.

    24     Correct?

    25                   MR. LASKY:    Correct.
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 60 of 62 PageID #:
                                  101711                                  59


     1                   MR. BLACK:    We didn't understand it to mean

     2     that, but I guess that's what they are trying to do, yes.

     3                   THE COURT:    Yes.   All right.    And I think that's

     4     right, and good for defendant's counsel to spot that issue

     5     for me.    I appreciate that.

     6                   The bad news for defendants is I'm not going to

     7     adopt your construction though, and for the following

     8     reasons.

     9                   First of all, and now I'm only dealing with the

    10     '478, the '209, the '526 and the '223 patents.          There's no

    11     claim language that requires dilution.

    12                   Second, applying the doctrine of claim

    13     differentiation, and, frankly, just the doctrine of common

    14     sense, you've got claim 16 of the '526, which depends from

    15     claim 1, adds dilution, and that is probative, it seems to

    16     me, makes clear that claim 1 is not limited to dilution.

    17                   Third, the specification of the patent that you

    18     all agree don't differ in any material respect refer to the

    19     fact that there "can be" permissive language.          It doesn't

    20     require it.

    21                   Fourth, the '239 patent is different than the

    22     others and it has a dilution limitation.

    23                   Fifth and finally, if I were to adopt the

    24     construction proposed by the defendants, it would read the

    25     preferred embodiment out of the '478, '209 and '223 patents.
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 61 of 62 PageID #:
                                  101712                                  60


     1                     All right.   Anything else?

     2                     MR. LASKY:   Just to be clear, for the record,

     3     in the reasoning, the suggestion was that we were asking

     4     that the claim be required to have dilution.          In fact, we

     5     were saying the opposite, that it is required to be

     6     undiluted.

     7                     THE COURT:   That's a mistake.     Sorry.   Have a

     8     requirement, what I've called the dilution limitation.             So,

     9     yes.   Sorry.    I mean, we've all been somewhat informal I

    10     guess in a way of how the argument went, but if that wasn't

    11     clear from my ruling, it should be.        Yes.    Absolutely.

    12                     Is there any confusion about my ruling?       Let me

    13     just ask then.

    14                     MR. BLACK:   No, Your Honor.      We understand.

    15                     MR. LASKY:   Well, it was a little confusing in

    16     the sense that in terms of claim differentiation, when you

    17     were saying that because it's in the dependent claim, that

    18     means it must not be required in claim 1.          That is how claim

    19     differentiation works, but we say that it doesn't in this

    20     circumstance.

    21                     We're not saying it requires what is in the

    22     claim.   We're saying --

    23                     THE COURT:   You would render claim 16

    24     meaningless?

    25                     MR. LASKY:   We would as in Baxalta and Enzo,
Case 1:18-cv-02032-CFC-CJB Document 179-7 Filed 07/22/20 Page 62 of 62 PageID #:
                                  101713                                  61


     1     it's inconsistent, not meaningless, and therefore invalid.

     2                   THE COURT:       Right.   All right.   Do I need to add

     3     further clarification?         This is what gets me.   It's de novo

     4     review anyway.    You all are going to make the same arguments

     5     and they'll be more formal about it and they don't have

     6     550 cases that they want to move things, and I think

     7     litigants want expeditious rulings.         You all understand it.

     8     I think we're on the same page.         All right?

     9                   All right.       Have a good morning.

    10                   (Hearing concluded at 10:57 a.m.)

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